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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

 CHARLES WASH,

               Plaintiff,                            CIVIL ACTION



                                                     STATE COURT FILE NO.: 19-SCCV-
                                                     089988-JBH
 v.

 JASON D. BRYANT, ZIPP
 EXPRESS, LLC
 and GREAT WEST CASUALTY
 COMPANY

               Defendants.

                                    NOTICE OF REMOVAL

            PLEASE TAKE NOTICE that specially appearing Defendants JASON D.

BRYANT, ZIPP EXPRESS, LLC, as well as GREAT WEST CASUALTY

COMPANY being the Defendants named in this action, hereby remove to this Court

the State Court action described below and respectfully show the Court the

following:

                                                1.

            A civil action was filed by the above-named Plaintiff Lewis Brown in the State

Court of Bibb County, State of Georgia, naming JASON D. BRYANT, ZIPP
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EXPRESS, LLC, and GREAT WEST CASUALTY COMPANY as the Defendants,

being Civil Action File No. 19-SCCV-089988-JBH, the Summons and Complaint

and all other pleadings and discovery in said civil action being attached hereto as

Exhibit “A”.

                                                2.

            At the time of the filing of the Complaint, the Plaintiff was citizen and resident

of the State of Georgia.

                                                3.

            At the time of the filing of the Complaint, Defendant ZIPP EXPRESS, LLC,

was discharged in bankruptcy and was not longer a legal entity. At the time of this

subject accident, ZIPP EXPRESS, LLC was a foreign corporation organized under

the laws of the State of Tennessee with its principal place of business located at 120

Caroline Way, Gallatin Sumner County Tennessee, 37066.

                                                4.

            At the time of the filing of the Complaint, Defendant GREAT WEST

CASUALTY, was a foreign corporation organized under the laws of the State of

Nebraska with its principal place of business located at P.O. Box 277, 1100 West

29th Street, South Sioux City, Dakota County, Nebraska, 68776-0277.




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                                                5.

            At the time of the filing of the Complaint Defendant JASON D. BRYANT

was a resident of Tennessee.

                                                6.

            The Plaintiff seeks judgment against the Defendants for sums in excess of

$75,000.00, exclusive of interest and costs.

                                                7.

            The foregoing action is properly removable to this Court pursuant to 28 U.S.C.

§ 1441(a), 28 U.S.C. § 1446(a) and (b) and, in accordance with 28 U.S.C. § 1332(a),

there being diversity of citizenship between the plaintiffs and all of the defendants

and the matter in controversy, exclusive of interest and costs, exceeds the sum of

$75,000.00. Specifically, Plaintiff’s counsel has represented that Plaintiff’s realized

medical expenses are over $100,000.00, as well as lost wages, claims for pain and

suffering, and any and all necessary expenses.

                                                8.

            Now, within thirty (30) days after receipt by Defendants of a copy of the

Summons and Complaint filed in the State Court of Bibb, State of Georgia, notice is

hereby given in accordance with 28 U.S.C. § 1446 and pursuant to Rule 11, Federal

Rules of Civil Procedure, of the removal of said action to this Court.


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            This 27th day of June, 2019.

                                              MCMICKLE, KUREY & BRANCH, LLP

                                                    /s/ Kevin P. Branch

                                              KEVIN P. BRANCH
                                              Ga Bar No. 111839
                                              KEN M. BARRE, III
                                              Ga Bar No. 930966
                                              Attorneys for Defendants
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                                 CERTIFICATE OF SERVICE

            This is to certify that I have this day served a copy of the foregoing

SPECIALLY APPEARING DEFENDANTS JASON D. BRYANT, ZIPP

EXPRESS, LLC, AND DEFENDANT GREAT WEST CASUALTY NOTICE

OF REMOVAL by depositing same in the United States Mail in a properly-

addressed envelope with adequate postage thereon to:

                                           David Dozier
                                    The Dozier Law Firm, LLC
                                           P. O. Box 13
                                     Macon, GA 31202-0013
                                       Attorney for Plaintiff

            This 27th day of June, 2019.

                                                    /s/ Kevin P. Branch
                                                 _________________________________
                                                 KEVIN P. BRANCH
                                                 For the Firm




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